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    1                         UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
    2                               SOUTHERN DIVISION

    3    TAWANDA HALL, CAROLYN MILLER,
         AMERICAN INTERNET GROUP, LLC,
    4    ANTHONY AKANDE, CURTIS LEE and
         CORETHA LEE, MARCUS BYERS and
    5    KRISTINA GOVAN, individually and
         all those similarly situated in
    6    the City of Southfield,

    7                   Plaintiffs,
                                                           HON. PAUL D. BORMAN
    8       v.                                             No. 20-cv-12230

    9    OAKLAND COUNTY TREASURER ANDREW
         MEISNER, in his official and
   10    individual capacities, OAKLAND COUNTY,
         SOUTHFIELD NEIGHBORHOOD REVITALIZATION
   11    INITIATIVE, LLC, CITY OF SOUTHFIELD,
         FREDERICK ZORN, in his official and
   12    Individual capacities, SOUTHFIELD
         MAYOR KENSON SIVER, in his official
   13    and individual capacities, SOUTHFIELD
         NON-PROFIT HOUSING CORPORATION, HABITAT
   14    FOR HUMANITY OF OAKLAND COUNTY INC.,
         SUE WARD-WITKOWSKI, in her former
   15    official and individual capacities,
         GERALD WITKOWSKI, in his official
   16    and individual capacities, TREASURER
         IRVIN LOWENBERG, in his official
   17    and individual capacities, MITCHELL
         SIMON and E'TOILE LIBBETT,
   18
                      Defendants.
   19    _____________________________________/

   20                       DEFENDANTS' MOTIONS TO DISMISS
                              (Held Via Videoconference)
   21
                      BEFORE U.S. DISTRICT JUDGE PAUL D. BORMAN
   22                        231 West Lafayette Boulevard
                                   Detroit, Michigan
   23                         Tuesday, September 28, 2021
                                       2:12 p.m.
   24
                      To Obtain Certified Transcript, Contact:
   25            Leann S. Lizza, CSR-3746, RPR, CRR, RMR, CRC, RDR
                                   (313) 234-2608
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   15    Exhibits:                                                      Received

   16     (None offered.)

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    1                                                 September 28, 2021

    2                                                 Detroit, Michigan

    3                                    -    -   -

    4        (Court and Counsel present; 2:12 p.m.)

    5              THE COURT:    Okay.    This is Judge Paul Borman presiding

    6    in Civil Case Number 20-12230, Tawanda Hall, et al. versus

    7    Oakland County, City of Southfield, et al.          The motions we're

    8    hearing today are the motion of -- against the Southfield

    9    Non-Profit Corporation, SNHC [sic]; Revitalization Initiative;

   10    Mitchell Simon; and E'Toile, E, apostrophe, T-O-I-L-E,

   11    Libbett's motion to dismiss the complaint.          And then we're also

   12    going to hear the City of Southfield's motion to dismiss the

   13    complaint.

   14              We'll start with the one I referenced.         We'll call it

   15    SNRI.   So we're going to -- and then after we hear the argument

   16    on that, we'll go to the other one.          So for the first case

   17    we're going to have Mr. Smith on behalf of plaintiffs and

   18    Mr. Nicols on behalf of the defendant.          So why don't the

   19    attorneys who are going to be arguing this afternoon identify

   20    themselves for the record and who their clients are beginning

   21    with the plaintiff.

   22              MR. SMITH:    Oh, it's Scott Smith for the plaintiff,

   23    Your Honor.

   24              THE COURT:    Okay.    Thank you.

   25              And for the Southfield Non-Profit Housing Corporation?


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                                   MOTIONS TO DISMISS                            5


    1              MR. NICOLS:    Yes.    Good afternoon.     Matthew Nicols

    2    appearing on behalf of the defendants, for Southfield

    3    Non-Profit Housing Corp., Southfield NRI, E'Toile Libbett, and

    4    Mitchell Simon.

    5              THE COURT:    Okay.    When you speak, speak slowly and

    6    loudly.   If you mention a case name and it's other than Smith

    7    or Freed or Jones, Freed spelling F-R-E-E-D, spell it out and

    8    give a cite to that case as well.

    9              So we'll begin with Mr. Nicols, please.          Thank you.

   10              MR. NICOLS:    Thank you, Your Honor.       And before I

   11    start, thank you to the -- to Your Honor and your staff for

   12    being accommodating.      I apologize for throwing a wrench for

   13    today's in-person hearing, but I wanted everyone to be fully

   14    advised as to the situation.       So I appreciate --

   15              THE COURT:    We appreciate your being up front with

   16    that and allowing us to take this remedial action which because

   17    we have an outstanding IT department here, particularly on this

   18    matter, an outstanding clerk's department with -- and

   19    outstanding chambers of mine, we're able to do this and proceed

   20    today on these important motions.        So please proceed,

   21    Mr. Nicols.

   22              MR. NICOLS:    Thank you, Your Honor.

   23              As it pertains to Southfield's Non-Profit Housing

   24    Corporation defendants which include Southfield Neighborhood

   25    Revitalization Initiative who I'd like to refer to as SNRI for


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                                 ARGUMENT BY MR. NICOLS                              6


    1    these proceedings, Defendants Libbett and Simon, we're really

    2    just looking at a claim of unjust enrichment following a tax

    3    foreclosure of real property that were previously owned by the

    4    plaintiffs, and the SNRI defendants are -- well, SNRI is a

    5    subsequent transferee of those tax foreclosed properties.               I

    6    think the facts are rather --

    7              THE COURT:    Why don't you [audio interrupted] how they

    8    get to SNRI as a -- start, you know, just a little historical

    9    with the foreclosure.      Please proceed.     Thanks.

   10              MR. NICOLS:    Sure.    Your Honor, the plaintiffs all

   11    failed to pay property taxes.       All of their homes were located

   12    in the City of Southfield.       The Oakland County Treasurer

   13    thereafter foreclosed on plaintiffs' properties pursuant to

   14    Michigan's General Property Tax Act after which point the

   15    Oakland County Treasurer obtained a judgment of foreclosure

   16    from the Oakland County Circuit Court, and after that

   17    foreclosure became final, the City of Southfield exercised its

   18    right of first refusal and purchased the plaintiffs' properties

   19    from the Oakland County Treasurer for the minimum bid.            That

   20    was under the statute of MCL 211.78m(1).

   21              From there the SNRI purchased those properties from

   22    the City of Southfield.      The SNRI program was created by the

   23    Southfield Non-Profit Housing Corporation as its sole member,

   24    formed for the purpose of purchasing tax foreclosed homes,

   25    restoring -- completely restoring and improving those homes and


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                                 ARGUMENT BY MR. NICOLS                          7


    1    selling those properties to new homeowners in the city to

    2    provide homeownership opportunity throughout the city and

    3    restoring blighted areas.

    4              THE COURT:    Now, isn't the Mayor Siver, S-I-V-E-R, a

    5    board member and the president of SNPHC which is the sole

    6    member of SNRI?

    7              MR. NICOLS:    I believe he is on the board of the

    8    Non-Profit Housing Corporation, but he is not in -- he is not a

    9    member of the SNRI.

   10              THE COURT:    Okay.    Okay.   I see Mr. Zorn is a

   11    registered agent for SNRI, and he is the city manager of

   12    Southfield?

   13              MR. NICOLS:    Yes, Your Honor.

   14              THE COURT:    Okay.    Okay.   So go ahead.

   15              MR. NICOLS:    SNRI, its managers, E'Toile Libbett --

   16    Mitchell Simon was at one point.         He is no longer manager of

   17    SNRI.   Mr. Zorn and Cory Moffitt have since replaced Mr. Simon.

   18              THE COURT:    Can you re -- spell Moffitt's name to help

   19    Mrs. Lizza, please.

   20              MR. NICOLS:    Yes, Your Honor.      Your Honor, I do not

   21    have the spelling in front of me.

   22              THE COURT:    Well, we'll spell it M-O-F-F-I-T-T, and if

   23    it's changed, you can let us know later.         Go ahead.

   24              MR. NICOLS:    I will, Your Honor.      And if I find it, I

   25    will.


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                                 ARGUMENT BY MR. NICOLS                           8


    1              THE COURT:    Okay.

    2              MR. NICOLS:    As it relates to the City's right of

    3    first refusal which was under MCL 211.78M(1), this Court has

    4    already stated in its prior opinion granting Oakland County

    5    Treasurer's motion to dismiss that the right of first refusal

    6    and the subsequent amended statute itself does not provide a

    7    basis for liability against the defendant as it pertains to the

    8    tax foreclosure of this case.

    9              The SNRI program is a lawful program.         There have been

   10    similar programs throughout the State of Michigan where the

   11    Court of Appeals has looked at those programs and has deemed

   12    those lawful under Michigan law.        There's two main cases, the

   13    first being Rental Properties Owners Association of Kent County

   14    versus Kent County Treasurer.        The citation for that case, Your

   15    Honor, is 308 Mich. App. 498, 2014.

   16              THE COURT:    Thank you.

   17              MR. NICOLS:    The second case, Your Honor, is City of

   18    Bay City versus Bay City County Treasurer.          Citation for that

   19    case, 292 Mich. App. 146 at page 166, year 2011.

   20              THE COURT:    Thank you.

   21              MR. NICOLS:    Under -- in those two cases both the

   22    Court of Appeals found that programs very similar to SNRI

   23    were -- tax foreclosed properties were being purchased to

   24    rehabilitate and restore neighborhoods satisfied a public

   25    purpose requirement under the then-statute.          That's really the


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                                 ARGUMENT BY MR. NICOLS                          9


    1    basic facts of this case, Your Honor.

    2              As far as the legal basis for our motion to dismiss

    3    plaintiffs' claims, I believe that for the same reasons that

    4    this Court granted Oakland County's motions to dismiss on the

    5    basis of res judicata and lack of standing as plaintiffs

    6    Carolyn Miller, American Internet Group, Plaintiff Akande

    7    and --

    8              THE COURT:    Spell Akande to help Mrs. Lizza, please.

    9              MR. NICOLS:    Yes, Your Honor.      A-K-A-N-D-E.

   10              THE COURT:    Thank you.

   11              MR. NICOLS:    You're welcome.

   12              I think the same reasons why Oakland County's motion

   13    was granted based on res judicata and lack of standing apply no

   14    differently in the claims against the SNRI defendant, the

   15    Non-Profit Housing Corp. and Libbett and Simon.           Both -- the

   16    SNRI were involved in the prior lawsuit, Hayes versus Oakland

   17    County Treasurer, et al. in Oakland County Circuit Court, Case

   18    Number 17-157366-CZ which was a case that involved claims

   19    involving the same tax foreclosures, claims of discrimination

   20    and housing practices, all again relating to same foreclosures

   21    that the plaintiffs are litigating their current claims here

   22    before this court.

   23              THE COURT:    You're saying that SNRI was a party to

   24    that --

   25              MR. NICOLS:    Yes, Your Honor.


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                                  ARGUMENT BY MR. NICOLS                          10


    1               THE COURT:    -- proceeding?

    2               MR. NICOLS:    And even if some of the defendants were

    3    not specifically named, the doctrine of res judicata would

    4    still apply based on the concept that the unnamed defendants

    5    are essential privies to the SNRI defendant who was named, so

    6    it should apply to those additional defendants as well.

    7               THE COURT:    How do you get the privy status to give

    8    them a wash?

    9               MR. NICOLS:    Well, Your Honor, I think it's based on a

   10    relation or a relationship that the defendants are -- well,

   11    it's actually the claims against the named defendant in the

   12    prior action could have at that time been pled against the

   13    unnamed defendant who is also in this action.

   14               THE COURT:    So let's say SNRI was in there but SNPHC,

   15    Simon, and Libbett were not named plaintiffs -- or defendants.

   16    They weren't named parties in that prior state court action.

   17    Right?    So --

   18               MR. NICOLS:    But based on the -- that's correct, Your

   19    Honor, but based on the -- I believe the relation of the

   20    parties, their interests in the same subject matter would

   21    create privy that would also -- that the concept and doctrines

   22    of res judicata would also apply in those defendants.

   23               THE COURT:    Okay.

   24               MR. NICOLS:    Moving from that, Your Honor, I think

   25    addressing the main claim of unjust enrichment against the SNRI


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                                  ARGUMENT BY MR. NICOLS                          11


    1    and Southfield Non-Profit Housing Corporation is that I think

    2    you should first look to the Rafaeli ruling.          Rafaeli

    3    essentially stated that --

    4               THE COURT:    Let's just spell to help Mrs. Lizza.

    5    Thank you.

    6               MR. NICOLS:    Thank you, Your Honor.      Rafaeli is

    7    R-A-F-A-E-L-I.

    8               THE COURT:    Thank you.

    9               MR. NICOLS:    The -- Rafaeli, the Supreme Court opinion

   10    that a former owner of tax foreclosed properties as a

   11    compensable takings claim, it's a takings claim if and only if

   12    the taxed foreclosure sale produces a surplus.           Plaintiffs'

   13    complaint and claims against the SNRI defendants here,

   14    specifically unjust enrichment, seek to recover what they

   15    define -- describe as surplus equity which is not -- which is

   16    different from surplus proceeds.        In the Rafaeli case, that

   17    property went to an auction and was sold for amounts that

   18    exceeded the minimum bid or the amounts to redeem the property

   19    from the Oakland County Treasurer.         In this case, completely

   20    different; it's a right-of-first-refusal case.           So there was no

   21    surplus proceeds after the tax foreclosure sale.           There just

   22    weren't any.

   23               Rafaeli, Justice Viviano in his concurring opinion,

   24    did identify instances under Michigan's General Property Tax

   25    Act where there could be instances where surplus proceeds are


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                                 ARGUMENT BY MR. NICOLS                            12


    1    not realized or recognized as a result of the way the statute

    2    was drafted.     But no other justice of the Michigan Supreme

    3    Court jumped onto that opinion, and the majority of the court

    4    limited that compensable takings claim to only that amount that

    5    exceeds the minimum bid or the surplus proceeds after the sale.

    6               This -- the claim of unjust enrichment here looks to

    7    or relies on the plaintiffs' theory that there is law that

    8    establishes a property right to recover surplus equity.            But,

    9    in fact, there is no case law to support that.           There's no law

   10    that states that the former property owner of tax foreclosed

   11    property has a right to recover surplus equity or essentially

   12    the fair market value of their property less what they owed

   13    taxes.    Rafaeli only dealt with claims against the foreclosing

   14    governmental unit.      Rafaeli did not stand for the position that

   15    a former owner of tax foreclosed property may assert a takings

   16    claim or any other claim against the subsequent transferee of

   17    tax foreclosed property.

   18               I think Judge Tarnow in a recent opinion looked at

   19    this unjust enrichment claim and summarized it quite well.               The

   20    elements among unjust enrichment are twofold:           One, that a

   21    defendant receive the benefit from the plaintiff, and, two,

   22    that there's an inequity as a result to the plaintiff.

   23               In addressing this -- the case of Karaus which is

   24    spelled C-A-R-A-U-S [sic], that the party may have a claim for

   25    unjust enrichment where the defendant did not confer a benefit


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                                  ARGUMENT BY MR. NICOLS                          13


    1    immediately from the plaintiff.        In the situations like that

    2    that requires a plaintiff to allege evidence of misconduct,

    3    wrongdoing or a scheme involving the loss of plaintiffs'

    4    property.     And in his opinion in the Estate of Dell Johnson

    5    versus Andrew Meisner, et al. which did include the same

    6    defendants in this case, Your Honor --

    7               THE COURT:    State the first name again.       Something

    8    Bell?   Spell the first name before --

    9               MR. NICOLS:    Yes.   The plaintiff was the Estate of

   10    Dell, D, as in dog, E as echo, L-L.

   11               THE COURT:    Thank you.

   12               MR. NICOLS:    Johnson.    That is Case

   13    Number 19-CV-11569, and the order I'm referring to is at ECF

   14    Number 125.     And as it related to the Estate of Dell Johnson's

   15    claim for unjust enrichment against those defendants,

   16    Judge Tarnow stated that the "plaintiff has not plausibly

   17    alleged such conduct.      The plaintiff's allegations are terse,

   18    conclusory, and lack specific support to a claim.

   19    Additionally, plaintiff's allegations merely amount to

   20    defendants' lawful use of Michigan's foreclosure law."

   21               I think that's the important thing to focus in on,

   22    Your Honor, is that what it really boils down to in the

   23    plaintiffs' unjust enrichment is that they're complaining that

   24    the defendants followed Michigan's foreclosure law.            That

   25    law -- and the actions by those -- by these defendants were not


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                                 ARGUMENT BY MR. NICOLS                           14


    1    unlawful then, and they weren't unlawful now.

    2               I think where I'd like to end off, Your Honor, is as

    3    it relates to the Southfield Non-Profit Housing Corporation

    4    defendant, Mitchell Simon and E'Toile Libbett, I think the

    5    complaint fails to meet the basic pleading standard to raise

    6    plausible inference of wrongdoing by them.          If we look to the

    7    complaint, the allegations pled against these defendants appear

    8    only in a few numbered paragraphs.         For example, in paragraph 6

    9    the complaint merely states that the Southfield Non-Profit

   10    Housing Corporation is a 501(c)(3) non-profit corp.            Similarly,

   11    in paragraph 10, the plaintiffs allege that Defendant Mitchell

   12    Simon is a CPA and treasurer of the Southfield Non-Profit

   13    Housing Corp., and in paragraph 71 more general allegations

   14    about removing properties from the tax rolls.           Those are the

   15    only two allegations that involve Mitchell Simon.           Likewise,

   16    with Defendant Libbett, he appears in 11, that he is a real

   17    estate broker and a member of the SNRI.          Those allegations do

   18    not support or show any wrongdoing to support any type of claim

   19    against them and that those allegations alone, I mean based on

   20    that, these defendants should be dismissed from the case.

   21               So with that, Your Honor, I will rest.         I would

   22    request a brief minute or two --

   23               THE COURT:    You have an opportunity to reply since

   24    you're the moving party.       So you can reply after the plaintiff

   25    argues, sir.


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                                  ARGUMENT BY MR. SMITH                           15


    1               MR. NICOLS:    Thank you, Your Honor.

    2               THE COURT:    Right.

    3               Mr. Smith, please.

    4               MR. SMITH:    Thank you, Your Honor.

    5               Scott Smith for the plaintiff.

    6               First let me start out, Mr. Nicols made an allegation

    7    that there is no takings claim against his clients.            I don't

    8    believe it's true.       Count 2 states the takings claim against

    9    all his clients.     So basically my argument is going to focus on

   10    two claims against Mr. Nicols' clients.          One is the unjust

   11    enrichment claim, and one is takings claim.

   12               THE COURT:    Where is the takings claim in the

   13    complaint?

   14               MR. SMITH:    It's Count 2.

   15               THE COURT:    Okay.    Okay.   Very good.    And let's start

   16    with takings.     What is that based upon?       Do you deny the

   17    statute that permitted the county to foreclose the city to buy

   18    from the county and then going further?          Do you deny those laws

   19    create the we'll call that the structure of what we're dealing

   20    with?

   21               MR. SMITH:    Well, I don't think the laws were -- first

   22    of all, those laws, I believe, are unconstitutional, the right

   23    of first refusal, I believe that Rafaeli never dealt with this

   24    specific issue.     The only judge that did deal with it was

   25    Judge Viviano where he made a statement -- it may be better to


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                                  ARGUMENT BY MR. SMITH                           16


    1    quote it so I don't mess it up.        He says, Judge Viviano says --

    2    one second.

    3               THE COURT:    Sure.   There's no rush.

    4               MR. SMITH:    He says, "Consequently, I would not rule

    5    out the possibility that 'just compensation' might require

    6    something greater than the surplus in a particular case,

    7    especially in cases in which the government purchased the

    8    property for the minimum bid."        And he says, "We have no reason

    9    to decide this issue in this case because, although the

   10    plaintiffs nominally distinguish equity and surplus, they offer

   11    no argument to suggest that the tax foreclosures here failed to

   12    obtain a fair price for the properties."

   13               Well, we're suggesting very strongly --

   14               THE COURT:    Let me ask you this, Mr. Smith.        This

   15    appears then to be dicta from Justice Viviano and also from a

   16    justice who is one out of seven on the Michigan Supreme Court.

   17    So how can that be authority to support your argument?

   18               MR. SMITH:    Well, what I'm saying is, is that his

   19    statement along with the facts that we had a case almost

   20    identical to this remanded from the Michigan Supreme Court

   21    which they said the behavior was unconscionable leads one to

   22    believe that the Michigan Supreme Court have not really decided

   23    this issue.    And also, as you know, as you noted in one of your

   24    opinions, the legislature basically repealed this law and it

   25    heavily implied it was repealed because it was


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                                  ARGUMENT BY MR. SMITH                           17


    1    unconstitutional.       That might be dicta, but in the prior law if

    2    the State of Michigan had purchased the property which was a

    3    consideration, they would have had to pay fair market value.

    4               Now -- and this is in the right of first refusal.

    5               So basically by not entertaining this takings claim --

    6    and there's two ways to consider it, under Michigan in Takings

    7    Clause, which Rafaeli only was determined under Michigan

    8    Takings Clause, and the federal Fifth Amendment Takings Clause.

    9               And so, accordingly, if you just try to limit by a

   10    couple sentences that are always said, ignoring all the

   11    background of the case that this only involved surplus from

   12    a -- an auction and you don't consider when there's no auction,

   13    you're basically making an unconstitutional former statute.

   14    You have two classes of people.        You have people whose property

   15    went to auction and property that was just taken by the State.

   16    And the Rafaeli and other places talks about the legacy of the

   17    Michigan common law under Judge Cooley -- Justice Cooley.

   18               THE COURT:    And let me ask you this question,

   19    Mr. Smith.    On page 7 of your response to the Defendants'

   20    motion to dismiss, your brief states in the last four lines on

   21    that page, "There still is no adequate remedy or procedure to

   22    to address the unlawful conduct in this case until the Michigan

   23    legislature finds Rafaeli, LLC, supra retroactive.            Even then,

   24    ambiguity will persist (see Justice Viviano's concurrence in

   25    Rafaeli, LLC, supra)."


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                                  ARGUMENT BY MR. SMITH                             18


    1               Are you basically saying that right now there is no

    2    adequate procedure and you're asking this court to create a

    3    procedure even though we're not in the business of legislating

    4    ever?

    5               MR. SMITH:    No.     I understand that.   But the Court

    6    could -- could ask -- could certify the question of Michigan

    7    Supreme Court and the questions going back to the Michigan

    8    Supreme Court because Rafaeli is on appeal again.           The law is

    9    unsettled.     And it's because Oakland County Circuit

   10    Judge Langford-Morris failed to find it retrospective even

   11    though the decision was in that case and it's only applied

   12    prospectively.

   13               Furthermore, you're hitting upon another thread that I

   14    think is a new development.         There's a case called Harrison

   15    versus Montgomery County which was -- I'll give you a cite for

   16    it.     It's so new it hardly has a cite, but it was decided

   17    May 11th, 2021, and the cite so far is 2021 U.S. App. Lexis

   18    13883.

   19               THE COURT:    Which court is that, Mr. Smith, if you can

   20    help us?

   21               MR. SMITH:    It's the Sixth Circuit, United States

   22    Sixth Circuit Court of Appeals.

   23               THE COURT:    Okay.     So that's our court.    Okay.   And is

   24    that -- you know if that's published or unpublished?            Does it

   25    state that?     And the date you said was May 11th, 2021.          Okay.


                           HALL v. MEISNER, ET AL., 20-12230
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                                  ARGUMENT BY MR. SMITH                           19


    1               MR. SMITH:    Yes, I believe it's going to be published,

    2    that's my understanding.

    3               THE COURT:    Okay.

    4               MR. SMITH:    And it's really more analogous especially

    5    in the federal law to this case than any of the precedent so

    6    far because what it involved was looking at the SNRI's behavior

    7    in its best light is -- they're claiming it's a public purpose

    8    which is a statement of fact, keep people in their homes.

    9    Well, the people were already in their homes.           There's no --

   10    if -- we state there's absolutely no blight.          A lot of these

   11    houses are well above the median home price in Michigan.

   12    They've done no work on them.        There's no public purpose.

   13               But getting back to Harrison, Harrison was a case that

   14    impacts this case in multiple ways.         First of all, it was about

   15    a Ohio law which you could avoid a tax auction by the

   16    determination that the house was in poor condition and they

   17    would send it to a land bank --

   18               THE COURT:    Does the fact that, sir -- does the fact

   19    that it's Ohio law and we're dealing with Michigan law here

   20    take it out of consideration by this court in Michigan?

   21               MR. SMITH:    I don't believe so because the statute's

   22    very similar.     And they're dealing -- and Justice Sutton, who

   23    wrote this opinion, he made a number of points as far as

   24    federal takings claims.

   25               First of all, same exact situation where there was no


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                                  ARGUMENT BY MR. SMITH                                20


    1    auction, that the legislature created a system where they could

    2    bypass the auction process supposedly for public purpose.                Even

    3    so, they said you can't do that; you have to give someone a

    4    chance to get their equity under the United States Fifth

    5    Amendment.

    6               There was also the preclusion issue.         The res judicata

    7    issue -- excuse me.      Res judicata issue which the court --

    8    which clearly said that there was a trap, a catch-22 because

    9    during the case, just as in this case, the Knick decision was

   10    decided.

   11               THE COURT:    Spell that.

   12               MR. SMITH:    K-N-I-C-K.

   13               THE COURT:    Okay.

   14               MR. SMITH:    It's a Supreme Court decision of the

   15    United States which basically got rid of the Williamson test of

   16    ripeness.    During this case none of my clients had access to

   17    federal court not only because of the ripeness thing, they

   18    would have to go in state court where they had no right and

   19    then it would be res judicata.         The Court in Harrison versus

   20    Montgomery County said when your rights are impaired, you don't

   21    have a clear choice.      Then if you proceed in the state system,

   22    they can say it's res judicata.         It puts an impediment on your

   23    access to the court.      This is exactly what happened here.            So

   24    this undercuts their preclusion argument on res judicata.                It's

   25    the same, exact situation.       And obviously the Sixth Circuit,


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                                  ARGUMENT BY MR. SMITH                           21


    1    the recent decisions, are trying to protect people's property

    2    rights under the Fifth Amendment.        In this case it's absolutely

    3    no ability.

    4               Now, when this case goes back to the Supreme Court

    5    whether by a federal circuit applying Rafaeli or by another

    6    similar state case, the Supreme Court is going to have to

    7    decide whether the new statute which would not permit this type

    8    of inequity -- everyone agrees it's unfair; the question is --

    9    many jurists have said that, from Judge Berg to Judge Shapero

   10    in Michigan, to Judge Kethledge, I believe his name is.

   11               THE COURT:    Kethledge.

   12               MR. SMITH:    Thank you.    I'm sure you personally know

   13    him; I don't.     Have said there's no question it's unfair; the

   14    question is how do you enforce people's property rights.

   15               So I mean we've covered a lot of different issues with

   16    one case, but I do not agree as it sits right now, even people

   17    whose houses went to auction within the statute of limitation

   18    have no rights in Michigan at least in Oakland County, and

   19    certainly my clients which is a finite set of people who --

   20    let's talk about something.       You know, Mr. Nicols said a lot of

   21    things except it's obviously true and it has been pled that the

   22    Southfield government and his clients are totally intertwined.

   23    And one's a private company.        And no one -- I don't think the

   24    legislature, when they created them, most likely

   25    unconstitutional right of first refusal under the old


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                                  ARGUMENT BY MR. SMITH                           22


    1    MCL 211.71m(1) were envisioning or the authorities that he

    2    mentioned, Kent County, envisioned a private third party taking

    3    these properties for no public purpose which is a issue of

    4    fact, but for this motion it should be considered as true --

    5               THE COURT:    When you say for no public purpose, aren't

    6    they taking the properties to rehabilitate, to sell them and to

    7    improve the city's housing?

    8               MR. SMITH:    I have at least a score of clients who

    9    still live in their houses.       They're valued at over $300,000.

   10    They have no lien.      They only lost the house for sometimes as

   11    little as four or five thousand dollars.          What public purpose

   12    is that?    And meanwhile, under oath Mr. -- in the bankruptcy

   13    court Mr. Zorn admitted that they had up to that point, a year

   14    ago, netted over $14 million for themselves which they didn't

   15    have to put back into the case.

   16               And really the analysis here is more like a fraudulent

   17    transfer analysis which there was a recent case by

   18    Judge Nicholson of -- in the same fact situation called

   19    Robinson versus the Southfield Neighborhood Revitalization

   20    Initiative which found that this whole idea of selling these

   21    houses was a constructively fraudulent conveyance because it

   22    had no -- there's absolutely no way for these people to get any

   23    value out of their homes.       That's a recent decision, July.

   24    It's been remanded to the bankruptcy court.

   25               And also, Your Honor, more directly on the argument,


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                                  ARGUMENT BY MR. SMITH                             23


    1    the defendants in this motion seem to conflate [indiscernible]

    2    with an unjust enrichment claim.          Shall I proceed, Your Honor?

    3               THE COURT:    Please.   Yes.

    4               MR. SMITH:    There's -- obviously there's two separate

    5    causes of action, unjust enrichment and a takings claim, but

    6    it's interesting to note one of the bases of the Rafaeli case

    7    to say that there was a common law right was an unjust

    8    enrichment case when the government in the case called Dean,

    9    it's on -- I think it's on page 32 of the Rafaeli decision --

   10               THE COURT:    Spell Dean.      Spell Dean, please.

   11               MR. SMITH:    D-E-A-N versus State of Michigan.

   12               THE COURT:    Thank you.

   13               MR. SMITH:    That's in the Rafaeli main decision.            And

   14    the facts are is that in this case instead of giving it to a

   15    city, the state took the property and sold it for $10,000.                The

   16    court found that there was a viable unjust enrichment case, and

   17    Rafaeli uses that as a basis to say that there is common law in

   18    Michigan that represented people's property and that -- if the

   19    state took the property without giving them an opportunity to

   20    get surplus, and that was permitted.

   21               More specifically, in the Eastern District of -- court

   22    of -- the fact that the Southfield Neighborhood Revitalization,

   23    LLC recorded a deed where they got the property for $1 isn't --

   24    the first transferee is undercut by a case by Judge Leitman,

   25    Matthew Leitman, in the Kerrigan decision.          It's in my brief,


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                                  ARGUMENT BY MR. SMITH                           24


    1    and which stands for the proposition that you can have an

    2    unjust enrichment cause of action.         You can have that where the

    3    beneficiary is unjustly enriched and has involvement or

    4    misleads people.

    5               This whole program of getting this -- these houses to

    6    the LLC is misleading.      It serves no public purpose.         We should

    7    have a right to develop a record on that -- on those issues.

    8    We've had no discovery even though there are public resolutions

    9    that make it perfectly clear.        Although they misstate the

   10    facts, they say it's going to Habitat for -- of Humanity as

   11    opposed to a insider-created Southfield Neighborhood

   12    Revitalization Initiative.       So I think the law on unjust

   13    enrichment both in the Dean State of Michigan case and as

   14    interpreted by the Eastern District in the Kerrigan versus

   15    Vi -- I don't know if I say this right, versus Visalus, I

   16    believe.

   17               THE COURT:    Spell it, please.

   18               MR. SMITH:    I knew you were going to ask me to do

   19    that.

   20               THE COURT:    Well, you can come back to it later and

   21    give us that when you argue the other side.          So, okay.

   22               MR. SMITH:    I have five minutes.      There's a lot of

   23    layers to this.

   24               THE COURT:    Okay.   You have five more minutes on this

   25    issue, then we'll go over to the brief reply and then we'll do


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                                  ARGUMENT BY MR. SMITH                           25


    1    the other case.

    2               MR. SMITH:    Well, I think I've hit most of the points.

    3    I mean the -- what the SNRI did is misleading because it says

    4    it was going to fight blight and also because it was going to

    5    prevent rentals, but they, in fact, just sold the house and

    6    created -- they just stripped the equity, sometimes hundreds of

    7    thousands of dollars.      It wasn't put back in the city; it

    8    wasn't a public purpose.       It was misleading.

    9               And I think just two more points.        I think you have to

   10    make a distinction when a property is sold to pay the taxes at

   11    an auction and where it's the actual government moving around

   12    these properties and profiting.        I mean goes back to what

   13    Justice Cooley said, that you -- the state should only take

   14    what is needed to pay the taxes.

   15               And, finally, I covered this in my brief, even though

   16    the Southfield Neighborhood Revitalization Initiative and

   17    Non-Profit and people who control those and those Southfield

   18    officials who were -- the Michigan Court of Appeals said their

   19    behavior was unconscionable and didn't give people faith in

   20    government.    Beyond that I did -- in section 3 of my brief in

   21    this matter, this has been awhile back, is a lot of case law

   22    where a nongovernment official, an entity of -- acts in concert

   23    with state officials, the public officials -- that they can be

   24    held liable under 42 U.S.C. 1983, again, the Takings Clause.

   25    One of the more recent cases is the Sixth Circuit case called


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                            FURTHER ARGUMENT BY MR. NICOLS                        26


    1    Siefert versus Hamilton County, 951 F.3d 753, 2020.

    2               So I think Southfield and Mr. Nicol's clients are

    3    totally intertwined in something that doesn't serve a public

    4    purpose.     It unjustly enriches them.      There's no

    5    accountability.     There's tens of millions of dollars floating

    6    out there.     Just -- and it's interesting, these houses, they

    7    don't pay any taxes, property taxes, on these houses.              They say

    8    that the SNRI is a part of a non-profit.          They take them off

    9    the tax rolls.     How that's helping the City of Southfield, I

   10    don't see how that's plausibly suggested.          So --

   11               THE COURT:    Okay.

   12               MR. SMITH:    So for those reasons, I think we've -- we

   13    have two plausible counts.       Now --

   14               THE COURT:    Okay.   You've argued those.      Okay.

   15               MR. SMITH:    I thank you for your time, Your Honor.

   16               THE COURT:    Okay.   Mr. Nicols, do you want to respond

   17    briefly?

   18               MR. NICOLS:    Yes, Your Honor.

   19               THE COURT:    Yes.

   20               MR. NICOLS:    Two, maybe three quick points.

   21    Addressing plaintiffs' assertion that they have raised the

   22    takings claim against the Southfield NRI, the Non-Profit

   23    Housing Corp., that is just not what the pleadings indicate.

   24    In fact, in their Count 2 of Plaintiffs' complaint, the only

   25    named defendants that appear in any of these allegations are


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                            FURTHER ARGUMENT BY MR. NICOLS                        27


    1    Defendants Oakland County and Defendant Southfield.            If the

    2    county -- Oakland County Treasurer and the City of Southfield.

    3    Nowhere in any of their factual allegations or any counts

    4    involving the takings claim do they include any statements or

    5    allegations against the SNRI or the Non-Profit Housing

    6    Corporation.

    7               Furthermore, in response to the argument that the SNRI

    8    or the Non-Profit Housing Corp. are state actors, I disagree.

    9    I think you have to look at who was the entity that's enforcing

   10    the most important order here.        In the plaintiff's case that's

   11    the judgment of foreclosure and that's the general --

   12    Michigan's General Property Tax Act.         The defendant who was

   13    enforcing that law and those judgments of foreclosure was the

   14    Oakland County Treasurer.       The Non-Profit Housing Corporation,

   15    SNRI, or Defendants Simon or Libbett had zero involvement in

   16    the tax foreclosure process, Plaintiffs' obligation to pay

   17    taxes, their failure to pay taxes and the resulting foreclosure

   18    of their properties on that basis.         And furthermore, there's --

   19    the entwinement series is not pled in the complaint.

   20               Quick point number two about the bankruptcy case --

   21               THE COURT:    It is pled in Mr. Smith's response to your

   22    motion, the entwinement matter.

   23               MR. NICOLS:    It's in the brief, Your Honor.

   24               THE COURT:    It was.

   25               MR. NICOLS:    And we did address that in our reply --


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                            FURTHER ARGUMENT BY MR. NICOLS                         28


    1               THE COURT:    Right.

    2               MR. NICOLS:    -- that I submitted to the Court.

    3               THE COURT:    Gotcha.    Okay.

    4               MR. NICOLS:    Regarding the bankruptcy case that

    5    counsel mentioned, In Re Patrice Robinson, that case involves a

    6    claim that can only be brought under the bankruptcy code, the

    7    constructive fraudulent transfer under 11 U.S.C. Section 548.

    8    That has no bearing with any of the claims, facts or

    9    allegations in this case.         That's a bankruptcy court case.        The

   10    bankruptcy court claim and that case is still being litigated

   11    before the United States bankruptcy court in the Eastern

   12    District of Michigan.      There's been no final determination on

   13    the merits of that claim for constructive fraudulent transfer.

   14               And then lastly, Your Honor, as relates to unjust

   15    enrichment, I think that Rafaeli ever -- I recall in the

   16    Rafaeli opinion, you know, they indicated that when addressing

   17    a situation where -- I think they were addressing the

   18    plaintiff's argument for unjust enrichment, and the reason why

   19    they rejected that theory was that if they -- if defaulting

   20    taxpayers were able to recover fair market value of their

   21    properties, they would be benefitting, they themselves would be

   22    benefitting from their failures to pay property taxes.            So with

   23    the theory of unjust enrichment, I think the plaintiffs are

   24    trying to essentially flip things around and benefit themselves

   25    from their own failure to pay property taxes.


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                                 ARGUMENT BY MR. KNOBLOCK                          29


    1               And with that, Your Honor, I'll turn it over to

    2    counsel for the City.

    3               THE COURT:    We're going to take a humanitarian break

    4    for Mrs. Lizza and a couple others.         So why don't we --

    5    Mrs. Lizza, ten?

    6               THE REPORTER:    Ten minutes is fine, Judge.

    7               THE COURT:    Okay.   We'll take a ten-minute break and

    8    then resume with the second motion.         Thank you.

    9               MR. SMITH:    Thank you, Your Honor.

   10         (Court in recess; 3:04 p.m. to 3:14 p.m.)

   11               THE COURT:    Counsel for the City of Southfield, et

   12    al. to proceed and then Mr. Smith will respond.           Please

   13    proceed, sir.

   14               MR. KNOBLOCK:    Yes, thank you, Your Honor.        And good

   15    afternoon.    Michael Knoblock appearing on behalf of the City of

   16    Southfield, Frederick Zorn, Kenson Siver, Sue Ward-Witkowski,

   17    Gerald Witkowski, and Irvin Lowenberg.

   18               THE COURT:    Thank you.

   19               MR. KNOBLOCK:    And Mr. Nicols mentioned in his

   20    argument this court has already decided the Oakland County's

   21    motion to dismiss, and in that opinion and order this court

   22    addressed many of the same issues that are dispositive to our

   23    motion as well --

   24               THE COURT:    If you speak a little slower -- if you

   25    speak a little slower, that will help Mrs. Lizza.           Thank you,


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                                ARGUMENT BY MR. KNOBLOCK                          30


    1    sir.

    2               MR. KNOBLOCK:    Certainly, Your Honor.

    3               Under the doctrine of the law of the case, a decision

    4    on an issue that's made by the court at one stage of the case

    5    should be given effect in successive stages of the same

    6    litigation.     And this court recognized that in its opinion in

    7    McNulty, M-C-N-U-L-T-Y, versus Arctic Glacier, Incorporated.

    8    That's number 08-CV-13178, 2016, Westlaw 465490 at page 17, and

    9    that's a February 8th, 2016, order of this court.

   10               And this court also recognized that a court's power to

   11    reach a result inconsistent with prior decision reached in the

   12    same case is to be exercised very sparingly and only under

   13    extraordinary circumstances.

   14               As it pertains to the issue of res judicata, this

   15    court found in its opinion granting Oakland County's motion to

   16    dismiss that the state court complaint filed by plaintiffs

   17    Miller, American Internet Group, and Akande were based on the

   18    same allegations in this case, and that's in the court's

   19    opinion at Page ID 2195.

   20               This court also found that it was an adjudication on

   21    the merits for purposes of res judicata, and that's at

   22    Page ID 2197.

   23               This Court further found that the prior lawsuit and

   24    this suit involved the same core set of facts and the issues in

   25    this case were or could have been raised in that prior suit.


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                                ARGUMENT BY MR. KNOBLOCK                          31


    1    And that's at page 2200.

    2               The Court also found that the parties were

    3    substantially identical, and it relied on Lyons versus

    4    Washington.    Lyons spelled L-Y-O-N-S, and that's Number 212516,

    5    citation is 2000 Westlaw 33407429, and that's a Michigan

    6    Appellate Court decision from 2000.         And relying on that case

    7    it found that the parties are substantially identical even

    8    though I believe it was only Mr. Meisner was named in the

    9    original state court suit because under that case companies and

   10    employees can be found in privity.         And the same applies here

   11    for Southfield and any of its employees.

   12               The Court further found that Rafaeli was not an

   13    intervening change in law that would preclude the application

   14    of res judicata, and that was at Page ID 2201.           So here the law

   15    of the case applies and res judicata precludes Miller, American

   16    Internet Group, and Akande's claims.

   17               For similar reasons, Miss Hall's claims are also

   18    precluded by res judicata.       This is Miss Hall's second lawsuit

   19    in this case that involves the same parties and the same core

   20    set of facts, and that was in her first lawsuit, 18-CV-14086,

   21    and her complaint is at ECF Number 9.

   22               That first lawsuit she agreed to dismiss with

   23    prejudice under Rule 41, and that's at ECF Number 21 in that

   24    case, and under the case of Warfield versus Allied Signal PBS

   25    Holding, Warfield spelled W-A-R-F-I-E-L-D, versus Allied


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                                 ARGUMENT BY MR. KNOBLOCK                         32


    1    Signal, A-L-L-I-E-D, S-I-G-N-A-L.        That's a final adjudication

    2    on the merits and has a res judicata effect.          So for that

    3    reason Miss Hall is also precluded under the doctrine of

    4    res judicata.

    5               This Court also addressed Mr. Byers -- yes, I'm sorry,

    6    Mr. Byers' standing in its orders dismissing Oakland County,

    7    and it found -- and recognized that an interest in real

    8    property under Michigan law can only be created by act or

    9    operation of law or by a deed or conveyance in writing pursuant

   10    to U.S. versus Real Property Located at 4527 to 4535 Michigan

   11    Avenue, and the citation for that is 489 Federal Appendix 855

   12    at page 857.

   13               The Court found that Mr. Byers had no interest in the

   14    subject property when foreclosure and transfer occurred and

   15    therefore he lacks standing, and that's at Page ID 2204.

   16               As to Counts 1 and 3 which are -- all relate to this

   17    alleged taking of equity in the property, this court cited to

   18    Nelson versus City of New York --

   19               THE COURT:    If you slow down -- if you slow down, that

   20    will help Mrs. Lizza because you know it but we're learning it,

   21    at least Mrs. Lizza is.       I've had the pleasure of doing it

   22    already, as has opposing counsel, but to help Mrs. Lizza, just

   23    slow down a little.      Thank you.

   24               MR. KNOBLOCK:    Certainly, Your Honor.       I apologize.    I

   25    just get so excited about this.        Again, that's Nelson versus


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                                 ARGUMENT BY MR. KNOBLOCK                          33


    1    City of New York, 352 U.S. 103, and that's a 1956 case.            And in

    2    this case the court recognized that a property interest in

    3    surplus exists only if provided from an independent source such

    4    as state law and federal law does not recognize a former

    5    property owner's interest in potential equity after a

    6    foreclosure.     That was at Page ID --

    7               THE COURT:    Let me ask a question.      I'm not seeing

    8    Mrs. Lizza, any light on around her.         Is there something

    9    that -- now, it's getting better.

   10        (The court reporter clarifies.)

   11               THE COURT:    Sorry to interrupt, sir.       Talking about

   12    the Nelson case, Mr. Knoblock.

   13               MR. KNOBLOCK:    Certainly.     Thank you, Your Honor.        And

   14    that was at Page ID 2209 of this court's decision.

   15               Recognizing that such a property interest has to flow

   16    from an independent source such as state law, the court

   17    recognized that Michigan Supreme Court in Rafaeli found that

   18    only property interest in surplus proceeds from a foreclosure

   19    sale if any is what survived the tax foreclosure, and that was

   20    at Page ID 2207.

   21               Applying this law of the case, plaintiff has failed to

   22    state a claim in Counts 1 through 3 because they've not

   23    identified any independent source of law that gives them this

   24    property right that they claim to have in this alleged equity.

   25               Importantly, Rafaeli also provides no basis for


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                                ARGUMENT BY MR. KNOBLOCK                          34


    1    asserting these claims against the subsequent purchaser of

    2    foreclosed tax property like the City of Southfield.            Under

    3    MCL 211.78(8)(a), Oakland County is the foreclosing

    4    governmental unit under the GPTA not the City of Southfield.

    5    The City of Southfield has no involvement in the foreclosure

    6    process.     Moreover, for takings, a person must be the property

    7    owner at the time of the taking.        And that's pursuant to U.S.

    8    versus Dow, D-O-W, 357 U.S. 17, pages 20 to 21 and that's a

    9    1958 case.

   10               When the City of Southfield exercised its right of

   11    first refusal pursuant to the GPTA, plaintiff no longer owned

   12    the property and therefore has no taking claim against the City

   13    of Southfield.     When the government like Oakland County takes

   14    control of the property, it loses its characteristic as private

   15    property and becomes public to the extent that it's not subject

   16    to a takings claim, and that was stated in State of North

   17    Carolina versus the United States, 725 F. Supp. 874 at pages

   18    876 to 877, and that's an Eastern District of North Carolina,

   19    1989, case.

   20               Also, in the Estate of Dell Johnson case that

   21    Mr. Nicols mentioned at page 12, Judge Tarnow recognized that

   22    plaintiff has not shown and the court has not found authority

   23    stating the recipients of property from a governmental agency

   24    which took property from the owner can be held liable under the

   25    Takings Clause.     I, too, had spent many hours looking for such


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                                 ARGUMENT BY MR. KNOBLOCK                         35


    1    a connection or the ability to state a claim to somebody in

    2    that position, and I've not been able to locate any either.

    3               Now, as it relates to the due process claims which

    4    would be Count 5 procedural, Count 6 substantive, we run into

    5    issues again of this property interest because a requirement

    6    for either a procedural due process or a due process claim

    7    requires identifying a property interest.          Here there is none

    8    which this court has already found, so those claims fail on

    9    that alone.

   10               As far as the procedural due process claim, first of

   11    all, there are no allegations in the complaint regarding the

   12    Southfield defendants.       The only allegations that are in the

   13    complaint relate to these alleged payment plans that the

   14    plaintiffs had with the Oakland County Treasurer before the

   15    foreclosure process.       The City of Southfield and the other

   16    Southfield defendants had no involvement in the foreclosure or

   17    any of these payment plans.       So they've failed to state any

   18    factual basis for this claim against the City of Southfield.

   19               THE COURT:    Okay.

   20               MR. KNOBLOCK:    Also, this court recognized in its

   21    prior decision at pages 2212 and 2213 that for a procedural due

   22    process claim they need to recognize the protected property

   23    interest, a deprivation of that interest and a failure to

   24    provide adequate procedural rights before that deprivation

   25    occurred.     Here again, they've not identified the property


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    1    interest nor are there any allegations of any of the Southfield

    2    defendants depriving them of that interest or that the City of

    3    Southfield failed to provide any kind of procedural rights

    4    prior to the foreclosure which it already has zero involvement.

    5               As it relates to the substantive due process claim,

    6    this court recognized that -- pages 2216 to 2217 that other

    7    courts have considered similar substantive due process claims

    8    regarding this equity that are arbitrary and shock the

    9    conscience.    And the Court recognized that these type of claims

   10    cannot be used basically as a stand-in for a takings claim.

   11    And, in fact, in Ostipow, O-S-T-I-P-O-W, versus Federspiel,

   12    F-E-D-E-R-S-P-I-E-L, and that's 824 Federal Appendix 336 at

   13    page 345, the court stated that substantive due process claims

   14    are viewed with a dose of skepticism and cannot be used as a

   15    stand-in to address a failed takings claim --

   16               THE COURT:    Which Court of Appeals is Ostipow?

   17               MR. KNOBLOCK:    I'm sorry.     That's a Sixth Circuit case

   18    and that's from 2020.

   19               THE COURT:    Okay.   Thank you.    Okay.

   20               MR. KNOBLOCK:    You're welcome, Your Honor.

   21               That's exactly what plaintiffs are attempting to do

   22    here, is basically here's our takings claim and even if you

   23    don't want to find that, find our substantive due process

   24    claim, and they can't do that.        As it relates to, I'll call it

   25    Count 7, it was a second Count 6 in the complaint, is an unjust


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                                 ARGUMENT BY MR. KNOBLOCK                         37


    1    enrichment claim.       Again, there's no allegations regarding the

    2    Southfield defendants in the complaint.          If you look to the

    3    complaint, it states that SNRI obtained equity, SNRI obtained

    4    equity through a transfer of inadequate value and that SNRI

    5    retained that equity resulting in this, quote, unjust

    6    enrichment to the SNRI, unquote.          So clearly there are no

    7    allegations in the complaint as it relates to the Southfield

    8    defendants being unjustly enriched.          And the Court has already

    9    found no cognizable interest in the alleged property equity, so

   10    there's nothing that the defendants could be enriched by or

   11    anything to unjustly take from the plaintiffs.

   12               Moreover, when a defendant receives a benefit from the

   13    third party not directly from the plaintiff, there's no receipt

   14    of the benefit from the plaintiff that's required for this

   15    claim.    And that's pursuant to Karaus, that's K-A-R-A-U-S,

   16    versus Bank of New York Mellon, 300 Mich. App. 9 at page 23,

   17    and that's a 2012 case.

   18               Now, plaintiff said --

   19               THE COURT:    That was previously -- just to help

   20    Mrs. Lizza, I think when -- in the previous argument Karaus,

   21    they stated it was with a C, but it's with a K, that's correct.

   22    Thank you.    As in Knoblock.     Okay.

   23               MR. KNOBLOCK:    Thank you.

   24               Now, the plaintiff has said that, well, hold on a

   25    second, you can be liable as a third party for unjust


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                                 ARGUMENT BY MR. KNOBLOCK                         38


    1    enrichment if you actively mislead somebody, and that's rely --

    2    they rely on the Kerrigan case that Mr. Smith discussed.

    3    However, there's also another case, Reid versus Bank of

    4    America, Reid spelled R-E-I-D.        That's number 18-CV-12099, and

    5    that's 2019 Westlaw 355655 at page 5.

    6               In order to sustain that type of claim, the plaintiff

    7    must allege facts to show how or when someone was misled for

    8    Kerrigan to apply.      Here, plaintiff is only pointing to actions

    9    that were taken pursuant to a lawfully enacted Michigan

   10    statute, the GPTA, as it relates to the City exercising its

   11    right of first refusal.       And the court recognized this at

   12    page 2209 of its decision granting Oakland County's motion to

   13    dismiss where this court stated, "It is undisputed that the

   14    properties were foreclosed on by the Oakland County defendants

   15    and then transferred to the City of Southfield pursuant to and

   16    in full compliance with the GPTA.        Plaintiff's conclusory

   17    allegations of some scheme to the contrary are insufficient."

   18    And that's very apt because that's exactly what they're trying

   19    to propose to this court, conclusions.         Mr. Smith believes that

   20    it was wrong.     Mr. Smith believes that it's illegal yet he

   21    points to no authority to support these claims.           All they are,

   22    conclusory allegations that are not entitled to the truth under

   23    the 12(b)(6) standard.

   24               THE COURT:    Let me ask a question with regard to

   25    Kerrigan.    Is it with a C or a K?


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                                  ARGUMENT BY MR. SMITH                           39


    1               MR. KNOBLOCK:       I'm sorry.   Kerrigan is with a K.

    2               THE COURT:    Thank you.     Okay.   Go ahead.

    3               MR. KNOBLOCK:       And that's all I have, Your Honor,

    4    unless you have any questions for me.

    5               THE COURT:    No.     You're the moving party, so I'll give

    6    you an opportunity to respond after -- to reply after the

    7    plaintiff responds.      Thank you.

    8               MR. KNOBLOCK:       Thank you, Your Honor.

    9               MR. SMITH:    Thank you, Your Honor.      Scott Smith for

   10    the plaintiffs.     I believe Mr. Knoblock gave you the cite you

   11    asked for previously, Kerrigan.

   12               THE COURT:    Right, right.

   13               MR. SMITH:    A number of points.      What counsel did not

   14    mention which I believe is a game changer is the Harrison

   15    versus Montgomery case and -- which talks about the

   16    res judicata issues, and unless for the record you want me to

   17    go over those, I would stand on what I said previously in my

   18    last motion about --

   19               THE COURT:    Okay.     It is in the record and fortunately

   20    Mr. Knoblock was here when it was discussed so you can proceed

   21    further.    Thank you, Mr. Smith.

   22               MR. SMITH:    Okay.     And then another theme of the

   23    Southfield Defendants' defense is they talk a lot about the

   24    title to the property, and then which is sort of, you know,

   25    hypocritical.     Then they talk about reliance on a Supreme Court


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                                  ARGUMENT BY MR. SMITH                           40


    1    case, Rafaeli, which says that title has nothing to do with the

    2    rights.     So they're trying to make a res judicata argument

    3    where, A, there's different defendants; B, where the timing of

    4    the right where they say doesn't exist for our clients is

    5    different.     To make it a little more concrete, normally a

    6    takings claim occurs at the foreclosure when people -- the

    7    property owners lose the right to the property.           What Rafaeli

    8    seemed to say was in that fact situation, which is different

    9    than this fact situation, that the harm comes, the cause of

   10    action comes when the property is sold at auction for more than

   11    the taxes.     So if the Court wants to use Rafaeli as the basis

   12    of a conclusion, doctrine of res judicata, we're talking about

   13    two different moments in time with different parties and

   14    under --

   15               THE COURT:    Well, let me ask this question, Mr. Smith.

   16    The takings that occurred in the foreclosure by the county on

   17    the property; is that correct?        That's when the official taking

   18    occurred.     And thereafter the transfers, you're saying those

   19    are new takings?     Because the taking was when the county

   20    foreclosed on the properties, end of story.          But you're saying

   21    it's not the end of the story.

   22               MR. SMITH:    No, I don't -- what you say is rational,

   23    but I don't think it's where the law is right now.            Under -- or

   24    there's contradictory threads to it.

   25               Under federal law, under the Knick case --


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                                  ARGUMENT BY MR. SMITH                           41


    1               THE COURT:    Say that, the name of that case again.

    2               MR. SMITH:    It's Knick, K-N-I-C-K, versus I think

    3    Scott Township, Pennsylvania, United States Supreme Court in

    4    2019.   I don't have the numbers in front of them.          But under

    5    federal law of Knick, United States Supreme Court, the taking

    6    happens when you lose the right to your property.           And if under

    7    Michigan law, under Rafaeli, you can't have a taking until it's

    8    sold at auction for more than [indiscernible], and that's what

    9    Judge Viviano is saying creates, I don't know, absurd results,

   10    possibly.    But the court isn't finished -- I don't believe the

   11    Michigan Supreme Court's finished adjudicating these rights.

   12               But for the purpose of preclusion doctrine, in

   13    Michigan, if Mr. Knoblock's arguing that this was already

   14    decided because the county took the title, that's not Michigan

   15    law of -- the property right happens somewhere down the road or

   16    in our case it never happens.        So how could that be precluded?

   17    It's sort of like -- it's sort of convoluted, but that's where

   18    we're at.

   19               So I think there's a point worth noting.         But then

   20    again, I get back to the Harrison versus Montgomery case.

   21    These people never really had a chance.          Under existing

   22    Michigan law at the time they couldn't go to federal court and

   23    they could only sue on due process rights.          And if -- well,

   24    that's one issue.

   25               The other thing to understand is the talk about unjust


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                                  ARGUMENT BY MR. SMITH                           42


    1    enrichment, there were -- the Southfield officials and the

    2    Southfield Non-Profit officials and the people, they were the

    3    same people.     You know, there was no -- they were definitely

    4    intertwined.     And there are allegations that, you know, we've

    5    had discovery, but there are allegations that Southfield

    6    officials were being paid money from the SNRI.           Even the

    7    Michigan Court of Appeals in Jackson versus Oakland County

    8    found that there were conflicts of interest and it was

    9    unconscionable conduct.       But that was pre-Rafaeli, and then

   10    that case was remanded.       So I don't think the story is over on

   11    that.

   12               THE COURT:    Do you have the cite again for Jackson

   13    versus Oakland County?

   14               MR. SMITH:    I believe it's -- that's the court of --

   15    there's two cases --

   16               THE COURT:    Michigan Court of Appeals?

   17               MR. SMITH:    Yeah.   The Court of Appeals, there's also

   18    the remand.    I believe they're part of the record, both of

   19    them.

   20               THE COURT:    Okay.

   21               MR. SMITH:    I don't have them.

   22               THE COURT:    Okay.

   23               MR. SMITH:    Counsel did a great job of getting all the

   24    cites.    I commend him for that.

   25               So, Your Honor, there are allegations that these


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                                  ARGUMENT BY MR. SMITH                             43


    1    people were paid money for taking these houses.           They said that

    2    they were going to get the houses for -- to get rid of rentals,

    3    to help the housing start, but, in fact, the City of Southfield

    4    and there's resolutions that are wrong, they list the wrong

    5    entity of which -- and they say that they're going to give them

    6    to habitat of humanity.         Well, they did a few of them for show.

    7    But the City of Southfield is really a mere conduit as far as

    8    the titles go.     As far as getting -- and these are factual

    9    allegations.     And they're more than plausible on the public

   10    record.    The City of Southfield, their officials did pay

   11    employees with proceeds from these houses.          They'd use city

   12    officials --

   13               THE COURT:    Wait.     Are you saying -- you're saying

   14    that the Southfield officials were paying employees of what

   15    entity, Southfield employees?         And to do what?    I didn't --

   16               MR. SMITH:    Two things.     The City of Southfield was

   17    using their employees to do the work of the nonprofits like to

   18    evict people for one, to go to their house and make sure they

   19    went out, got out of their house, to serve them process.             And

   20    they --

   21               THE COURT:    Was this based upon the foreclosure sale

   22    that the county did and, therefore, the people were required to

   23    leave the house?

   24               MR. SMITH:    No.     This was based -- this happened way

   25    after the foreclosure.         This happened after the SNRI,


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                                  ARGUMENT BY MR. SMITH                                44


    1    Mr. Nicols' client got title for paying $1 for the property and

    2    then the -- people worked for the housing department would --

    3    they would get paid to do tasks for the SNRI --

    4               THE COURT:    Is that in the complaint?       Is that in the

    5    complaint anywhere?

    6               MR. SMITH:    Honestly, Your Honor, I've done so many

    7    complaints on these issues, I can't recall the paragraph.                If

    8    that becomes an issue, I would ask leave to amend.

    9               THE COURT:    We're not going there.      We have tons of

   10    stuff on this case.      You know, I'm just saying what we have so

   11    far that I've read which is what's before the Court.            But

   12    you're saying that they used -- like SNRI used city people --

   13    city employees to evict people who were in the house that had

   14    been foreclosed upon and that title had gone from them so they

   15    were living there without justification?

   16               MR. SMITH:    I believe the complaint is talking -- what

   17    I'm saying is that Southfield employees in paragraphs 63, 64,

   18    65, 67 about the Southfield employees would do the -- would

   19    do -- they would do a number of things.          The building

   20    department would basically find these properties and make sure

   21    there was no code problems.       If you remember, there was no

   22    mortgages on any of these properties and --

   23               THE COURT:    Well, wait, let's stop.      Stop one second.

   24    I'm reading paragraph 63.       You're saying that Siver, Zorn, and

   25    Susan Ward-Witkowski wrongfully used their offices and


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                                  ARGUMENT BY MR. SMITH                           45


    1    implemented the scheme under color of official right.            64,

    2    those people abused the power under the GPTA for personal

    3    economic gain and to augment their power.          And then you're

    4    saying that -- I don't see anything about using city employees,

    5    stuff like that in those --

    6               MR. SMITH:    They are city employees.       Identified Zorn.

    7    Susan Ward-Witkowski was a city employee at the time, and her

    8    husband Gerald was.      And these people were paid, and they were

    9    paid money from the city -- --

   10               THE COURT:    They were paid salaries from the city,

   11    right?     They got salaries from the city for their jobs.

   12               MR. SMITH:    They got additional checks also from the

   13    SNRI, checks while they were working for the city.

   14               THE COURT:    Is there anything in the complaint that

   15    says that?

   16               MR. SMITH:    It specifically --

   17               THE COURT:    That's, you know, a significant factual

   18    issue that's not in the complaint.         So, anyway, go ahead

   19    further.

   20               MR. SMITH:    Well, it's implied.      I don't remember

   21    reading it in discovery.       But in other cases I found checks and

   22    bank accounts which will prove what I'm saying.

   23               And Miss Rivid (phonetic), who is on SNRI, she is a

   24    real estate broker.      She got paid by them.      I talk about in

   25    paragraph 65 obtained favors, graft.         I mean there's enough


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                                  ARGUMENT BY MR. SMITH                            46


    1    here certainly to make -- connect the dots, I think.

    2               So I mean these outfits were connected.         Zorn was on

    3    both boards.     The city of -- the city was -- the city didn't

    4    even put up the money to pay the taxes on the house which is

    5    highly unusual, or did the SNRI.        The non-profit did, and then

    6    the money's intermingled between SNRI and Southfield non-profit

    7    housing association which was started for benevolent purposes

    8    by real estate investors like Gilbert Silverman which has been

    9    totally overtaken and used as just a means to amass equity of

   10    people.    Has no public purpose.

   11               Southfield -- Southfield is a privity under the old

   12    act with Oakland County, and the focus of a takings claim isn't

   13    necessarily what the government gets, it's what they take away

   14    from the people, and the interactions which could amount to a

   15    civil conspiracy between the SNRI Southfield was definitely --

   16    had the result of depriving citizens of their property and not

   17    for a public purpose, for a private -- supposedly private

   18    company which wasn't really independent.          There's like

   19    collusion and conflict of interest all over the place.

   20               So and just one other -- a few other points that

   21    Mr. Knoblock touched on.       Miss Hall was a defendant who is

   22    represented by legal aid, and then the person who represented

   23    her was a law student, then became a member of his firm that

   24    was brought to the attention to the Court a long time ago.               The

   25    actual -- I think he's right, she did sign a document under the


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                                  ARGUMENT BY MR. SMITH                           47


    1    law student's direction to dismiss the case --

    2               THE COURT:    Wait a minute.     The law student directed

    3    somebody to do something?       I think there was an affidavit

    4    saying that the student did not participate in any aspect of

    5    the case.     Wasn't there?

    6               MR. SMITH:    No.   Well, the way I understood it is that

    7    the student joined Mr. Knoblock's law firm and when she joined

    8    the firm, she didn't participate, but she did represent

    9    Miss Hall and it was disclosed, which it was supposed to be,

   10    under the local court rules.        And I believe I filed a paper, I

   11    [indiscernible] to the Court's direction, whether it was

   12    proper.

   13               My point is that the actual dismissal order was

   14    without prejudice.      Whether it was just a technicality, I

   15    mean -- and another thing, there's no final judgment in this

   16    case.     To the extent that there is controlling authority like

   17    Montgomery on the Harrison versus Montgomery County under --

   18    which affects the res judicata decisions, the Court could

   19    change its mind at this point.        That's why it's not without

   20    prejudice.     And so the -- so I think the preclusion arguments

   21    are no longer valid and they don't affect all the plaintiffs.

   22               And then, finally, there's a discussion of Nelson v.

   23    New York.     Nelson versus New York actually supports our

   24    position.     It doesn't hurt our position.       And in Nelson the

   25    Supreme Court of the United States, 1956, was interpreting a


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                                  ARGUMENT BY MR. SMITH                           48


    1    New York statute that allowed a former property owner to redeem

    2    and then sue for their equity.        They never took advantage of

    3    that, so the ruling was basically that they -- a municipality,

    4    in this case it was New York, had to give a property owner a

    5    reasonable chance to get their equity under the Fifth

    6    Amendment.    And even Rafaeli, when it talked about the case

    7    ended up with the conclusion, it said on page 487, 505 Mich. --

    8    well, I'm sorry, 505 Mich. 519, it says, "The better view under

    9    the law described is that the property taken is the taxpayer's

   10    equity, that this occurs when title vests in the government

   11    with no opportunity for redemption."         In that circumstance, if

   12    the government retains the property, the taxpayer would be able

   13    to seek compensation for the deprivation of his or her equity.

   14               THE COURT:    Now, here, didn't the title vest in

   15    Oakland County initially?       --

   16               MR. SMITH:    It did, but there was no cause of action

   17    certainly under the federal Constitution and under the Michigan

   18    Constitution.     Under Rafaeli there's no cause of action until

   19    it was sold at auction, and we're circling back to the same

   20    argument.    What -- the Court didn't rule on the situation where

   21    there was no auction, and so by all the principles of the

   22    common law from the Magna Carta on down, there was a property

   23    right, it just hadn't been resolved to anyone's satisfaction.

   24    What happens when a government entity holds onto it.            Well,

   25    under the new law, we know it happens to get fair market value.


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                           FURTHER ARGUMENT BY MR. KNOBLOCK                       49


    1    And as the Court knows, an issue of fair market value even in

    2    the basic situation where it's sold at auction, that's on

    3    appeal to the Sixth Circuit as well.         I mean I could see if the

    4    Court wanted to stay this case because there's two cases at the

    5    Sixth Circuit that may impact this case, the Freed versus

    6    Thomas case and the Fox versus Saginaw County case.

    7               I appreciate your time, Your Honor.

    8               THE COURT:    Okay.   Just to help Mrs. Lizza, Freed is

    9    F-R-E-E-D.     Okay.    Thank you, Mr. Smith.

   10               Let me ask if the moving party wishes to respond --

   11    reply, I should say, briefly.

   12               MR. KNOBLOCK:    Yes, just briefly, Your Honor, thank

   13    you.   And, again, Michael Knoblock on behalf of the Southfield

   14    defendants.

   15               Even after pointing out through briefing, through oral

   16    argument, and in other cases that no legal authority has been

   17    cited that states that there's a property interest in this

   18    alleged equity, we still are not being given that authority

   19    because no legal authority exists for that.          I think that's the

   20    very central important part of this issue, and Mr. Smith wants

   21    to get bogged down in different details and facts that he did

   22    not plead in his complaint, but the fact of the matter is these

   23    claims fall like a house of cards without that property

   24    interest.     And the only two things I heard him refer to in his

   25    response was a brief mention of something about the Magna Carta


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    1    and extending Rafaeli and relying on Justice Viviano's

    2    dissent -- concurring opinion, rather.         One of the seven

    3    justices with the other majority going against what he said

    4    knowing full well that that was his position in rejecting.               So

    5    I think it's important to focus on the point that they have not

    6    identified that they have any right to this alleged equity in

    7    the property.

    8               Now, as far as, you know, the process of when, you

    9    know a taking occurs and something like that, the Supreme Court

   10    in Rafaeli recognized that title vests absolutely in the

   11    Oakland County Treasurer after the property's foreclosed and

   12    the redemption period passes.        After that there's no further

   13    redemption rights available to the delinquent taxpayer, and

   14    that's 505 Mich. at 445.       They went on to hold that the only

   15    potential remaining interest that remains with the former

   16    property owner is in surplus proceeds from a tax foreclosure

   17    sale to the extent that they exist, no more, no less.            And

   18    that's at pages 483 to 484 and note 134.

   19               So, again, Your Honor, without identifying what the

   20    property interest is legally, their claims fail.           And as far as

   21    any other issues that this Court has already decided in Oakland

   22    County's motion to dismiss, that's the law of the case and the

   23    Court should follow those holdings accordingly.           Thank you.

   24               THE COURT:    What about the claims of the dual

   25    loyalties?    One, Mr. -- Mayor Siver, and Mr. Zorn, their


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    1    loyalty to the city and then loyalty to an entity that the city

    2    transfers property to.       Does that create a due process issue?

    3               MR. KNOBLOCK:     I don't believe that it does, and going

    4    back, first of all, again, that's sort of putting the cart

    5    before the horse because that's getting more to the arbitrary-

    6    and-shocks-the-conscious analysis.         Before you can even get

    7    that analysis, you have to identify property interest which

    8    they have not done.      Further, any of these allegations that

    9    Mr. Smith just recited are not in the complaint and I haven't

   10    seen any authority that he has cited or given any legal basis

   11    to this court that's showing that, you know, wearing these dual

   12    hats creates some sort of substantive due process claims.

   13               THE COURT:    Okay.    Thank you.

   14               MR. SMITH:    Your Honor, could I make one --

   15               THE COURT:    No, we've gone through it and we have it

   16    all, and I don't want to extend further.

   17               So the Court thanks the parties.        It's been a very

   18    interesting case, still is, and the Court will take these

   19    motions under advisement and render an opinion, but I want to

   20    thank counsel on both sides in both cases for highlighting

   21    their particular points.         And good afternoon to all.     We are

   22    adjourned.    Thank you.

   23               MR. KNOBLOCK:     Thank you, Your Honor.

   24               MR. NICOLS:     Thank you.

   25         (Proceedings concluded, 4:00 p.m.)


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    1                                    -   -    -

    2                           CERTIFICATION OF REPORTER

    3

    4        I, Leann S. Lizza, do hereby certify that the above-entitled

    5    matter was taken before me at the time and place hereinbefore

    6    set forth; that the proceedings were duly recorded by me

    7    stenographically and reduced to computer transcription; that

    8    this is a true, full and correct transcript of my stenographic

    9    notes so taken; and that I am not related to, nor of counsel to

   10    either party, nor interested in the event of this cause.

   11

   12

   13    S/Leann S. Lizza                                        11-30-2021

   14    Leann S. Lizza, CSR-3746, RPR, CRR, RMR, RDR            Date

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